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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 GREGORY SMITH,

        Plaintiff,

         v.                                            Civ. No 1:15-cv-00161-ABJ

 DISTRICT OF COLUMBIA, et al.

        Defendants.


     PLAINTIFF’S BRIEF IN RESPONSE TO OCTOBER 28, 2020 MINUTE ORDER

       Plaintiff submits this brief in response to the Court’s Order on October 28, 2020. The

District of Columbia (“District”) argues that, during the examination of Jack Jones at trial,

“Plaintiff advanced a theory that the District’s use of the MyJUSTIS system, and its delay in

transmitting information, was the cause of his overdetention.” See ECF 117 at 18. The District

urged the Court to “disregard this new theory.” Id. The factual evidence here, however, was: (1)

disclosed by the District during discovery; (2) relied upon by the District on summary judgment;

(3) identified in the Joint Pretrial Statement [ECF 98], Plaintiff’s Written Opening Statement [ECF

99], and Deposition Designations to be Read into Evidence [ECF 109]; and (4) presented at trial

without objection. There is no legal or factual basis for the Court to disregard relevant evidence

that was disclosed during discovery and that was admitted at trial without objection.

I.     The District’s Failure to Timely Raise an Objection to the Evidence Constitutes a Waiver

       The District’s untimely plea to the Court, after trial, to “disregard” a “theory” based on the

evidence must be rejected for one simple reason—the District never objected at trial to the

admissibility of this evidence. See Tr. (Feb. 25, 2019) 44:3-61:15. Indeed, Plaintiff elicited the

testimony from Jack Jones without any objection from the District. Id. The District also never



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objected to the other admitted evidence establishing the known delay in the MyJUSTIS system—

Plaintiff’s designation of Jones’ and Robilyn Brown’s deposition testimony, and Trial Exhibit P-

6 (the District’s own policy, acknowledging the delay in the MyJUSTIS system). See Jt. Pretrial

Statement at 6-8 (no objection to Ex. P-6) and 11 (no objection to deposition designations) [ECF

98]; see also Pl.’s Dep. Designations at 2-3 (designating Jones Dep. 48:14-49:19, 51:15-20, 55:16-

22; and Brown Dep. (Dec. 2015) 24:09-25:21) [ECF 109].1 Inconsistently, the District has never

“urged” the Court to disregard Exhibit P-6 or the deposition testimony by Jones and Brown

regarding delays with MyJUSTIS. This is record evidence before the Court.

        Because the District failed to object to the admissibility of this evidence, it has waived any

post-trial argument that the evidence, which has already been admitted, should now be precluded

post hoc. See Fed. R. Evid. 103(a)(1)(A); see also Kirkland v. D.C., 70 F.3d 629, 633 (D.C. Cir.

1995) (trial by implied consent where party failed to object to evidence). This result is also

consistent with this Court’s post-trial ruling against Plaintiff. See Minute Order (June 10, 2019).2

        In addition, the District not only failed to object at trial, it also never moved to strike the

evidence; it never moved for a continuance, a mistrial, or a new trial. And, significantly, the

District did not even cross-examine Jones on this portion of his testimony despite having a full




1
         The District later objected at trial to the deposition designations of Jones and Brown generally by
arguing they were not “high-ranking officials” and so the depositions could not be admitted as a statement
of a party opponent. But this argument was rejected by the Court. Tr. (Feb. 28, 2019) 4:18-5:8. Importantly
though, the District never objected to the Jones and Brown deposition designations on any other basis.
2
         On June 10, 2019, the Court denied Plaintiff’s Motion to Strike the testimony of Myrick, finding
that the testimony “was elicited by the defense on direct and came in evidence without objection by the
plaintiff; plaintiff had a full ability to cross examine the witness and explore any and all inconsistencies
between her testimony and prior testimony; and plaintiff did not seek to strike or exclude the testimony
of the witness after she testified.” Minute Order (June 10, 2019) (emphasis added). The Court’s ruling has
equal application to the District’s untimely request for the Court to “disregard” evidence concerning known
deficiencies in MyJUSTIS that caused Plaintiff’s overdetention.



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opportunity to do so. Tr. (Feb. 25, 2019) 66:8-67:11. The factual evidence was relevant, it was

admitted, and the District did not object to its admissibility.3

        Moreover, the District’s claim that it was somehow prejudiced or surprised by this evidence

is false. The deficiencies identified in the MyJUSTIS system were elicited by the District’s own

questioning of Jones at his deposition. Jones Dep. 48:3-49:19, 51:15-20, 55:16:20. Jones’

deposition testimony was also consistent with the District’s own policy (Ex. P-6) that was

disclosed by the District in discovery, as well as Brown’s deposition testimony. Brown Dep. (Dec.

2015) 24:09-25:21. All of this evidence was identified by Plaintiff in his pretrial disclosures and

admitted into evidence without objection.4 The District’s suggestion that it has been prejudiced or

surprised by this evidence strains credulity.

        Further, a Rule 59 motion for a new trial is the proper relief for the District’s objection that

the admission of the MyJUSTIS evidence was an “unfair surprise.” See Banks v. Perdue, 298 F.

Supp. 3d 94, 109-110 (D.D.C. 2018). But to bring a Rule 59 motion, the District would have had

to move for a continuance at trial – it did not. Sedgwick v. Giant Food, Inc., 110 F.R.D. 175, 176–

77 (D.D.C.1986) (“A number of courts have determined that moving for a continuance is a

prerequisite to obtaining a new trial on the ground of unfair surprise.”); Hancock v. Washington

Hosp. Ctr., 13 F. Supp. 3d 1, 9 (D.D.C. 2014), aff'd, 618 F. App'x 4 (D.C. Cir. 2015). Any prejudice

that the District now claims (there is none), could have been mitigated had the District moved to




3
         The District’s failure to timely object or move to strike the evidence prohibits the District from
later claiming that the Court’s admission of the evidence was “error”. Fed. R. Evid. 103(a)(1)(A)-(B).
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        See Jt. Pretrial Statement at 11 (designating Jones Dep. 48:14-49:19, 51:15-20, 55:16-22; and
Brown Dep. (Dec. 2015) 24:09-25:21 as read-in, without objection from the District) [ECF 98]; see also
Pl.’s Written Opening at 4-7 (identifying Jones Dep. 48:14-49:19, 51:15-20, 55:16-22; and Brown Dep.
(Dec. 2015) 24:09-25:21 as proof for Monell claim) [ECF 99]; see also Pl.’s Deposition Designations 2-3
(designating Jones Dep. 48:14-49:19, 51:15-20, 55:16-22; and Brown Dep. (Dec. 2015) 24:09-25:21 as
read-in) [ECF 109].


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strike the evidence or requested a continuance. Sedwick, 110 F.R.D. at 177. The District failed to

take any of these necessary steps. The evidence is properly admitted.

II.     Plaintiff Presented Evidence at Trial in Support of his Claim

         The District asks the Court to disregard factual evidence that was properly admitted at trial

to which the District offered no objection. See ECF 117 at 18. There is no possible basis upon

which this relevant, factual evidence could now be excluded.5 So, the District resorts to arguing

that the factual evidence is a new “theory.” But the deposition and trial testimony of Jones and

Brown, and the admission of P-6 are relevant facts, not theories. The facts were not conjured up

by Plaintiff. They are not arguments. The facts regarding MyJUSTIS are an inextricable part of

the District’s process/custom for releasing a prisoner.

        Moreover, there was nothing new about the facts showing delays in MyJUSTIS, which

were established in the pretrial deposition testimony of Jones and Brown, as well in the pre-marked

Exhibit P-6. Indeed, Jones’ deposition testimony regarding MyJUSTIS was in response to

questioning by the District’s own attorney. The District was not surprised by the testimony of

Jones at trial because Jones offered the same testimony during his deposition (as did Brown). The

Court should not turn a blind eye to facts that are essential to explaining why Plaintiff was

overdetained simply because the District does not like where those facts lead.

        In addition, the District’s attempt to dichotomize between factual evidence and “theories”

is inappropriate because the law makes no such distinction. For example, the Third Circuit

addressed this artificial distinction and found reversible error where a district court “unilaterally


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         Once again, the District completely mischaracterizes the holding of a case. See Tr. (Feb. 28, 2019)
at 20:11-22:25. The nonbinding decision by the D.C. Court of Appeals in Daniels v. Beeks, 532 A.2d 125,
128 (D.C. 1987), did not, as the District contends, “affirm the trial court’s denial of appellant’s motion to
modify pretrial order to raise new theory.” ECF 117 at 19. It held the exact opposite. Daniels reversed the
trial court for denying the appellant’s motion to modify its pretrial statement. Daniels, 532 A.2d at 128.



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divide[s]” a plaintiff’s “42 U.S.C. § 1983 municipal liability claim into three theories” and

excludes overlapping evidence because it did not fit with a theory of liability. Forrest v. Parry,

930 F.3d 93, 98, 104-105 (3d Cir. 2019), cert. denied sub nom. City of Camden, New Jersey v.

Forrest, 140 S. Ct. 902 (2020). Here, the District is asking the Court to do exactly that – exclude

otherwise admissible evidence because the District categorizes that evidence as part of a theory

and not evidence. The law provides no basis for drawing such arbitrary lines of admissibility.

        MyJUSTIS was an integral, yet flawed step in the District’s custom of receiving release

orders from the Superior Court. On summary judgment, the District argued “LIEs are able to access

release orders through an e-system known as MyJustis which provides access to the information

contained on the Superior Court’s e-system CourtView.” Def.’s Reply at 7 [ECF 83]. MyJUSTIS

is necessarily one of the multiple methods by which DOC receives release orders. See ECF 115-1

at ¶¶ 18-37. Any evidence relating to deficiencies in the MyJUSTIS system is relevant to the issue

tried in this case—the District’s “custom or practice of receiving release orders by a number of

means that caused” the violation of Plaintiff’s constitutional rights. See Order at 1 [ECF 85]; see

also Opinion at 34 (“haphazard process of receiving release orders, through a variety of means and

in a variety of forms…”) [ECF 86]. The District’s custom for receiving release orders that relied

upon a system with a known delay in uploading the court-issued release orders to MyJUSTIS was

the proximate cause of Plaintiff’s overdetention. ECF No. 115-1 at ¶¶ 51-64. These are facts, not

theory, and cannot be ignored simply because it renders the District liable.6



6
        The District was on notice of Plaintiff’s claim that the District’s custom of processing release orders
caused Plaintiff’s overdetention. Am. Compl. at ¶ 30(b)-(f), and (j). “Notice” of the claim is all that is
required. Banks, 298 F.Supp.3d at 109. Moreover, under Rule 15(b)(2), the evidence presented at trial of
the known delays in the MyJUSTIS system “must be treated in all respects as if raised in the pleadings” as
the issue was tried by “implied consent.” Kirkland 70 F.3d at 633-635 (applying Rule 15(b) to both
pleadings and pretrial orders); see Blackwell v. Regal Cab Co., 316 F.2d 398, 399-400 (D.C. Cir. 1963)
(allowing new defense theory at trial); see also Fed. R. Civ. P. 15(b)(2).


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Dated: November 10, 2020           Respectfully submitted,


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                             CERTIFICATE OF SERVICE

       I hereby certify that I caused to be served a true and correct copy of the foregoing
through the court’s electronic filing system on counsel of record for all parties in this case.

Dated: November 10, 2020                           /s/ Brendan J. Klaproth____________




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